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                   EXHIBIT A
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                 CONFIDENTIAL PURSUANT TO PTO 200 and FRE 408

                                         August 20, 2020

Via E-mail
Honorable Vince Chhabria
United States District Court, Northern District of California
Vccrd@cand.uscourts.gov

       RE: Response to Pretrial Order No. 216

To the Honorable Vince Chhabria,

        This letter is Andrus Wagstaff, PC’s confidential response to Pretrial Order No. 216, ECF
11293. On January 21, 2020 this Court entered PTO 200, wherein it reminded the parties that all
“settlement discussions in this MDL are confidential and that the Court will not hesitate to
enforce the confidentiality requirements with sanctions.” Undersigned counsel also believes the
confidentiality provisions of FRE 408 require the contents of this letter remain confidential.
Further, given the sensitive moment we are facing in this litigation, public disclosure of the
contents of this letter could jeopardize any future settlement discussions between Monsanto and
Andrus Wagstaff, PC.

Andrus Wagstaff, PC




                                      The use of a non-binding Term Sheet was an
intermediate step utilized at Monsanto’s insistence and contains the basic settlement deal
points. Pursuant to its terms, the Term Sheet converted into a binding MSA by a date certain
if: (1) Monsanto had not terminated the deal and (2) the Parties had not negotiated and
executed a binding MSA.


Prior to and after the June 24, 2020 settlement announcement referenced in PTO 216,
Monsanto has continued to represent to Andrus Wagstaff varying versions of “our deal is
done” and “we have a deal”. Despite such representations,
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   Andrus Wagstaff has three Wave 1 cases and requests the Court rule on all pending
motions and either remand them for trial or consolidate them for trial before your honor in the
Northern District:

   1. Giglio v. Monsanto, 3:16-cv-05658;
   2. Russo v. Monsanto, 3:16-cv-06024; and
   3. Perkins v. Monsanto, 3:16 -cv-06025.

       Aimee Wagstaff will be prepared to discuss the contents of this letter during the
August 27, 2020 case management conference or during a Rule 408 settlement conference
should the Court want more details.

                                                            /s/ Aimee H. Wagstaff, Esq.

Cc via e-mail:
Brian Stekloff, Esq
William Hoffman, Esq
Julie du Pont, Esq
Lana Varney, Esq
Vance Andrus, Esq
Robin Greenwald, Esq
Mike Miller, Esq
Ken Feinberg, Esq




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